              IN THE COURT OF APPEALS OF NORTH CAROLINA

                                  No. COA19-1108

                              Filed: 3 November 2020

Henderson County, No. 17CRS50669

STATE OF NORTH CAROLINA

             v.

KAYLA SUE MCGAHA


      Appeal by Defendant from judgment entered 29 March 2019 by Judge Alan

Thornburg in Henderson County Superior Court. Heard in the Court of Appeals

9 September 2020.


      Attorney General Joshua H. Stein, by Associate Attorney General Jarrett W.
      McGowan, for the State-Appellee.

      Charlotte Gail Blake for Defendant-Appellant.


      COLLINS, Judge.


      Kayla Sue McGaha (“Defendant”) appeals from judgment entered upon the

trial court’s finding her guilty of impaired driving. Defendant argues that the trial

court erred by denying her motion to suppress evidence, denying her motion to

dismiss for insufficient evidence, and finding one grossly aggravating factor and

accordingly imposing a Level Two sentence. We discern no error.
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                                 Opinion of the Court



                              I. Procedural History

      Defendant was arrested on 17 February 2017 and charged with driving while

subject to an impairing substance and operating a motor vehicle with an open alcohol

container. On 31 May 2018, Defendant pled guilty in district court to driving while

impaired. The district court determined the State had proven beyond a reasonable

doubt the grossly aggravating factor that Defendant “has been convicted of a prior

offense involving impaired driving which conviction occurred within seven (7) years

before the date of this offense.” The district court imposed a Level Two sentence.

Defendant noticed appeal to the superior court.

      On 2 November 2018, Defendant filed a motion to suppress evidence in

superior court.   On 28 March 2019, Defendant pled not guilty to driving while

impaired, waived her right to a jury trial, and requested a bench trial. Following a

colloquy with Defendant, the superior court found Defendant’s waiver to be made

freely, voluntarily, and understandingly, and permitted the matter to be heard by the

bench. The State voluntarily dismissed the open container charge. After hearing

testimony and arguments on the suppression motion, the superior court denied the

motion in open court and entered a corresponding written order on 5 April 2019.

      At the close of the trial on 29 March 2019, the superior court found Defendant

guilty of driving while impaired and found the grossly aggravating factor of a prior

impaired driving conviction within seven years of the date of the offense.        The



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superior court imposed a Level Two sentence of 12 months in prison, suspended the

sentence, and placed Defendant on 24 months’ supervised probation. The superior

court also ordered Defendant to abstain from consuming alcohol for 90 days, complete

240 hours of community service, and pay court costs. Defendant timely filed notice

of appeal to this Court.

                              II. Factual Background

      The State’s evidence tended to show the following: At around 10:50 p.m. on

17 February 2017, State Trooper Tony Osteen of the North Carolina Highway Patrol

was on preventative patrol travelling in an unmarked patrol car in the left-hand,

eastbound lane of Upward Road, a four-lane road that connects U.S. Highway 176 to

Interstate 26 to Howard Gap Road in Henderson County. Upward Road contains a

grass median between the two lanes going in opposite directions, as well as turn lanes

for accessing roads to the left, which start and stop between the grass median.

      Osteen noticed a car approaching from behind, whose driver failed to dim the

car’s bright lights when the car was directly behind Osteen. After pulling over to the

left into one of the turn lanes to let the driver pass, Osteen got back on Upward Road

behind the car and followed it. Osteen noticed that the car was “weaving inside of its

lane” and “going into . . . the right eastbound lane,” and that it “crossed a dotted fog

line,” so he continued to follow it toward the intersection at Interstate 26. Just before

reaching the intersection, the car got over into the leftmost of two turn lanes



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connecting to Interstate 26, then “jerked the wheel back and got into the lane that

[the driver] had just left from and went straight through the intersection.” When

asked, “How would you characterize her driving?” Osteen responded, “It was

definitely something that caught my eyes, somebody that could be impaired, driving

erratic, weaving, unable to drive in a straight line.” When they reached the next set

of turn lanes, Osteen activated his lights and pulled the car over.

        When Osteen approached the car to talk with the driver, whom he later

identified as Defendant, he noticed an odor of alcohol coming from inside the car and

asked Defendant to step out. When Defendant stepped out of the car, she staggered

and smelled of alcohol. While Osteen conversed with Defendant to find out who she

was, to obtain her driver’s license, and to discuss why he stopped her, Osteen observed

that she spoke in “slurred and mumbled speech” and had “a moderate odor of alcohol

coming from her breath.”      When Osteen gave Defendant an Alco-Sensor test,

Defendant’s first blow into the device produced an error because it contained “too

much moisture and was full of spit.” Trooper Danny Odom, whom Osteen had called

to assist, arrived at the scene and gave Defendant two Alco-Sensor tests using his

portable testing device, which both produced positive results.        Osteen arrested

Defendant and took her to the police station, where she refused to take an intoxilyzer

test.




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      Osteen testified that it was his opinion that Defendant “had consumed a

sufficient amount of impairing substance, which was alcohol, as to appreciably impair

her mental and physical faculties.” Osteen based his opinion on his observations of

Defendant stumbling and staggering when she got out of the car, the moderate odor

of alcohol on her breath, her mumbled and slurred speech, and her erratic driving.

                                    III. Discussion

A. Motion to Suppress Evidence

      Defendant first argues that the trial court erred by denying her motion to

suppress evidence. The State argues that Defendant failed to properly preserve the

denial of the suppression motion for appellate review. Defendant’s argument has not

been preserved and thus is not properly before us.

      “The law in this State is now well settled that ‘a trial court’s evidentiary ruling

on a pretrial motion [to suppress] is not sufficient to preserve the issue of

admissibility for appeal unless a defendant renews the objection during trial.’” State

v. Hargett, 241 N.C. App. 121, 124, 772 S.E.2d 115, 119 (2015) (quoting State v.

Oglesby, 361 N.C. 550, 554, 648 S.E.2d 819, 821 (2007)). Where a defendant fails to

object when such evidence is offered at trial, appellate review is limited to plain error.

State v. Muhammad, 186 N.C. App. 355, 364, 651 S.E.2d 569, 576 (2007); N.C. R.

App. P. 10(a)(4).   Plain error review is only available “when the judicial action




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questioned is specifically and distinctly contended to amount to plain error.” N.C. R.

App. P. 10(a)(4).

      In this case, Defendant filed a motion to suppress evidence seized as a result

of the stop, arguing that the officer lacked reasonable suspicion to stop her. After the

trial court denied Defendant’s motion but before the beginning of the trial, the State

asked the trial court, “[S]ince you’ve already heard the evidence up to the stop[,]

[w]ould it be acceptable to apply that to the trial portion here?” Defense counsel

stated he “would have no issue just proceeding from here,” and the trial court

announced it would “incorporate that testimony into the trial testimony and consider

that for purposes of the trial.” Defendant did not object to the trial court’s ruling and

made no objections at trial. Thus, Defendant did not properly preserve the denial of

her motion to suppress for review on appeal. See Hargett, 241 N.C. App. at 124, 772

S.E.2d at 119. Further, because Defendant does not argue plain error on appeal, we

do not review the denial of the motion for plain error. See N.C. R. App. P. 10(a)(4).

Defendant’s argument is dismissed.

B. Motion to Dismiss for Insufficient Evidence

      Defendant next argues that the trial court erred by denying her motion to

dismiss based on insufficient evidence of the offense of driving while impaired.

      This Court reviews a trial court’s denial of a motion to dismiss for insufficient

evidence de novo. State v. Smith, 186 N.C. App. 57, 62, 650 S.E.2d 29, 33 (2007).



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                                  Opinion of the Court



Denial of a motion to dismiss in a criminal trial is proper if there is substantial

evidence of the essential elements of the offense and that the defendant was the

perpetrator.   State v. Fritsch, 351 N.C. 373, 378, 526 S.E.2d 451, 455 (2000).

“Substantial evidence is such relevant evidence as a reasonable mind might accept

as adequate to support a conclusion.” State v. Smith, 300 N.C. 71, 78-79, 265 S.E.2d

164, 169 (1980) (citations omitted). “In reviewing challenges to the sufficiency of the

evidence, we must view the evidence in the light most favorable to the State, giving

the State the benefit of all reasonable inferences.” Fritsch, 351 N.C. at 378-79, 526

S.E.2d at 455 (citation omitted); see State v. Rose, 339 N.C. 172, 192, 451 S.E.2d 211,

223 (1994) (appellate court must resolve any contradictions in the State’s favor).

      “A person commits the offense of impaired driving if he drives any vehicle upon

any highway, any street, or any public vehicular area within this State . . . [w]hile

under the influence of an impairing substance . . . .” N.C. Gen. Stat. § 20-138.1(a)(1)

(2019). “The opinion of a law enforcement officer . . . has consistently been held

sufficient evidence of impairment, provided that it is not solely based on the odor of

alcohol.” State v. Mark, 154 N.C. App. 341, 346, 571 S.E.2d 867, 871 (2002) (citations

omitted).   Additionally, a defendant’s refusal to submit to an intoxilyzer test is

admissible as substantive evidence of impairment. See N.C. Gen. Stat. § 20-139.1(f)

(2019).




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      Here, Osteen testified that he initially saw Defendant’s car “weaving inside of

its lane” and “going into . . . the right eastbound lane,” and that it “crossed a dotted

fog line,” so he continued to follow it toward the intersection at Interstate 26. Just

before reaching the intersection, Defendant’s car got over into the leftmost of two turn

lanes connecting to Interstate 26, then “jerked the wheel back and got into the lane

that [the driver] had just left from and went straight through the intersection.”

Osteen thought that the driver of the car could be impaired due to the driver’s

“erratic” driving, weaving, and being “unable to drive in a straight line.”

      After Osteen pulled Defendant over and approached her car, he detected an

odor of alcohol coming from inside the car. When Defendant stepped out of the car,

she staggered and smelled of alcohol. While Osteen conversed with Defendant, he

observed that she spoke in “slurred and mumbled speech” and had “a moderate odor

of alcohol coming from her breath.”

      Osteen testified, “It is my opinion [Defendant] had consumed a sufficient

amount of impairing substance, which was alcohol, as to appreciably impair her

mental and physical faculties.” Osteen further testified, “I based that on observing

her stumbling, her staggering a little bit when she got out of the vehicle, moderate

odor of alcohol on her breath, her mumbled and slurred speech, along with erratic

driving.” Because Osteen’s opinion that Defendant was impaired was not based solely

on the odor of alcohol, it was sufficient evidence of impairment. See Mark, 154 N.C.



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App. at 346, 571 S.E.2d at 871. Osteen also testified that Defendant refused to submit

to an intoxilyzer test at the police station, which was admissible evidence of

impairment. See N.C. Gen. Stat. § 20-139.1(f).

      Defendant argues that there is conflicting testimony about why she refused to

take the intoxilyzer test at the police station, asserting that she has a heart condition

that caused her to be unable to blow any more after they arrived at the police station.

However, in viewing the evidence in the light most favorable to the State and giving

the State the benefit of all reasonable inferences, see Fritsch, 351 N.C. at 378-79, 526

S.E.2d at 455, we resolve any contradiction in the State’s favor, see Rose, 339 N.C. at

192, 451 S.E.2d at 223.

      Viewed in the light most favorable to the State, the evidence was sufficient to

support the conclusion that Defendant was “under the influence of an impairing

substance” at the time of her arrest. N.C. Gen. Stat. § 20-138.1(a)(1). The trial court

properly denied Defendant’s motion to dismiss.

C. Grossly Aggravating Factor

      Defendant finally argues that the trial court erred by finding the grossly

aggravating factor of a prior driving while impaired conviction within seven years of

the date of the offense, where the State failed to notify Defendant of its intent to prove

the aggravating factor for sentencing purposes.




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                                    Opinion of the Court



       We first address the State’s motion made pursuant to North Carolina Rule of

Appellate Procedure 9(b)(5)(a) to supplement the record, or alternatively pursuant to

Rule 9(b)(5)(b) to remand to the trial court to allow the trial court to correct the record,

with a Notice of Grossly Aggravating and Aggravating Factors (DWI) form the State

alleges was served on Defendant’s attorney on 17 September 2018.

       North Carolina Rule of Appellate Procedure 9(b)(5)(a) allows an appellee, in

certain circumstances, to “supplement the record on appeal with any items that could

otherwise have been included pursuant to this Rule 9.” N.C. R. App. P. 9(b)(5)(a). In

addition to an enumerated list of items, Rule 9 provides that the record shall contain

“copies of all other papers filed and statements of all other proceedings had in the

trial courts which are necessary for an understanding of all issues presented on

appeal.” N.C. R. App. P. 9(a)(3)(i). Rule 9(b)(5)(b) states in pertinent part: “On

motion of any party or on its own initiative, the appellate court may order additional

portions of a trial court record or transcript sent up and added to the record on

appeal.”

       In this case, the State admits in its motion that the Notice of Grossly

Aggravating and Aggravating Factors (DWI) form “was neither filed nor presented to

the trial court.” Accordingly, the form could not have been included in the record

pursuant to Rule 9 and could not supplement the record on appeal pursuant to Rule

9(b)(5)(a). Additionally, as the proffered form was not part of the trial court’s record



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in this case, it cannot be added to the record on appeal pursuant to Rule 9(b)(5)(b).

We therefore deny the State’s motion and do not consider the proffered form.

      “Alleged statutory errors are questions of law and, as such, are reviewed de

novo. Under de novo review, the appellate court considers the matter anew and freely

substitutes its own judgment for that of the lower court.” State v. Hughes, 265 N.C.

App. 80, 81-82, 827 S.E.2d 318, 320 (2019) (citations omitted).

      Pursuant to N.C. Gen. Stat. § 20-179(a1)(1), “[i]f the defendant appeals to

superior court, and the State intends to use one or more aggravating factors under

subsections (c) or (d) of this section, the State must provide the defendant with notice

of its intent.” N.C. Gen. Stat. § 20-179(a1)(1) (2019). Under subsection (c) of this

section, a prior conviction for an offense involving impaired driving is a grossly

aggravating factor if “[t]he conviction occurred within seven years before the date of

the offense for which the defendant is being sentenced.” Id. at § 20-179(c)(1)(a). A

defendant’s right to notice of the State’s intent to prove a prior conviction is a

statutory right, not a constitutional one. State v. Williams, 248 N.C. App. 112, 116-

17, 786 S.E.2d 419, 423-24 (2016). See Blakely v. Washington, 542 U.S. 296, 301

(2004) (“Other than the fact of a prior conviction, any fact that increases the penalty

for a crime beyond the prescribed statutory maximum must be submitted to a jury,

and proved beyond a reasonable doubt.” (quoting Apprendi v. New Jersey, 530 U.S.

466, 490 (2000)). Thus, “[a] defendant’s Sixth Amendment right to ‘reasonable notice’



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is not violated ‘where the State provides no prior notice that it seeks an enhanced

sentence based on the fact of prior conviction.’” Williams, 248 N.C. App. at 117, 786

S.E.2d at 423-24 (citation omitted).            The statutorily required notice of a prior

conviction under N.C. Gen. Stat. § 20-179(a1)(1) can be waived.1 See, e.g., Hughes,

265 N.C. App. at 81, 84, 827 S.E.2d at 321-22 (where the State failed to provide

defendant notice of its intent to use aggravating factors under N.C. Gen. Stat. § 20-

179(a1)(1), “and the record d[id] not indicate that [d]efendant waived his right to

receive such notice,” the trial court committed prejudicial error by applying the

aggravating factors).

       Here, Defendant admitted to her 2012 driving while impaired conviction when

questioned on cross-examination during the trial on the merits. At sentencing, the

State offered, “[Defendant] has had one prior conviction of DWI in the last seven years

making her a Level II for sentencing, we believe.” Defense counsel stipulated that

“Defendant did have the prior DWI,” but asked the court to “take into consideration

everything that you heard today and everything that you heard from [Defendant]

with her condition and everything like that in terms of sentencing.” The court then

announced, “The Court finds that grossly aggravating factor No. 1A, that the

defendant has been convicted of a prior offense involving impaired driving, which


       1  Unlike N.C. Gen. Stat. § 15A-1340.16, our felony sentencing statute that contains an
analogous notice provision, N.C. Gen. Stat. § 20-179 does not require admissions to the existence of an
aggravating factor to be consistent with N.C. Gen. Stat. § 15A-1022.1, which requires the trial court
to address the defendant personally regarding an admission.

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conviction occurred within seven years before the date of this offense. Therefore, the

defendant is a Level II for punishment with one grossly aggravating factor present.”

Defendant did not object.

      Defendant admitted to her prior conviction, her counsel stipulated to

Defendant’s prior conviction, and at no time during sentencing did Defendant object

to the consideration of her prior conviction as an aggravating factor in determining

her punishment level for sentencing.        Defendant’s admission and her counsel’s

stipulation, coupled with Defendant’s failure to object to lack of notice at the

sentencing hearing, operated as a waiver of her statutory right to notice.

      Defendant relies upon Hughes, State v. Geisslercrain, 233 N.C. App. 186, 756

S.E.2d 92 (2014), and State v. Reeves, 218 N.C. App. 570, 721 S.E.2d 317 (2012), to

support her argument that Defendant’s sentence should be vacated and remanded for

lack of notice. However, unlike in the present case, the facts in those cases do not

indicate that defendants waived notice by admitting the aggravating factor and

failing to object based on a lack of notice of the State’s intent to use the factor. The

defendant in Hughes specifically objected to the lack of notice, and this Court stated

that the record before it “does not indicate that Defendant waived his right to receive

such notice.” 265 N.C. App. at 81, 84, 827 S.E.2d at 320, 322.




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      The trial court did not err by finding the grossly aggravating factor of a prior

driving while impaired conviction within seven years of the date of the offense and

imposing a Level Two sentence. Defendant’s argument is overruled.

                                   IV. Conclusion

      The trial court did not err by denying Defendant’s motion to dismiss for

insufficient evidence. The trial court did not err in sentencing Defendant by finding

a grossly aggravating factor based on a prior driving while impaired conviction

because Defendant waived notice.

      NO ERROR.

      Judges STROUD and MURPHY concur.




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